                    IN THE UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF PENNSYLVANIA

        UNITED STATES OF AMERICA                            :

                       v.                                   : CRIMINAL NO. 19 - 64

        JOHN DOUGHERTY                                          :
        ROBERT HENON
        BRIAN BURROWS                                           :
        MICHAEL NEILL
        MARITA CRAWFORD                                         :
        NIKO RODRIGUEZ
        BRIAN FIOCCA                                            :
        ANTHONY MASSA

                       GOVERNMENT’S MEMORANDUM REGARDING A
                           POTENTIAL CONFLICT OF INTEREST

       The United States of America, by and through its attorneys, Jennifer A. Williams, Attorney

for the United States, Acting Under Authority Conferred by 28 U.S.C. § 515, and the undersigned,

respectively submits this memorandum regarding potential conflicts of interest involving counsel

for defendants Robert Henon and Marita Crawford, both of whom are charged in the above-

captioned matter. Henon is represented by Brian McMonagle and Crawford is represented by

Fortunato Perri. Counsel are principals in the law firm McMonagle Perri McHugh Mischak Davis.

       A.      Introduction

       The indictment charges International Brotherhood of Electrical Workers (IBEW) Local 98

Business Manager John Dougherty and Robert Henon with one count of conspiracy to commit

honest services fraud and federal program bribery, and a total of twelve counts of honest services

wire fraud and mail fraud. Henon alone is charged with three additional counts of counts of honest

services wire fraud and four counts of federal program bribery. Crawford is not charged with

Henon in any of the honest services or bribery counts.
       The indictment also charges John Dougherty and codefendants, including Marita Crawford,

with conspiracy to embezzle and convert to their own uses the funds and property of Local 98.

Ms. Crawford is also charged in nine counts of embezzlement and wire fraud thefts from a labor

union and a political action committee, and with one count of falsification of an annual financial

report filed by a labor union and one count of falsification of financial records required to be kept

by a labor union. Henon is not charged with Crawford or other codefendants in the theft

conspiracy or substantive theft or reporting offenses.

       Despite the fact that Henon and Crawford are not charged together in any count, the

government expects, at the very least, to introduce recorded conversations Crawford had with John

Dougherty and with Robert Henon that constitute evidence of the honest services charges lodged

against Dougherty and Henon. Thus, it is apparent that Henon or Crawford could take conflicting

positions before trial, or during trial by testifying or making argument contrary to the other’s

interest. Additionally, one of these defendants could plead guilty and testify. In addition to the

possibility that the cooperating defendant could inculpate the other, counsel for the remaining

defendant would also face the possibility of having to cross-examine a client of his law firm,

without making use of any privileged information that he might have obtained as a result of the

joint representation.

       While these defendants may choose to put up a united front and a common defense

strategy, it is also possible that at least one of the defendant’s best defense may be to deflect blame

to the other. See, e.g., United States v. Cooper, 672 F. Supp. 155, 158 (D. Del. 1987) (court held

that one attorney could not represent three defendants, even though they all consented; court raised

possibility that relative culpability of each co-defendant may become pivotal aspect of defense and


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one attorney cannot raise arguments as to lesser culpability of one defendant without

compromising defense of other defendants).

       B. Rule 44(c) of the Federal Rules of Criminal Procedure

       Rule 44(c) of Federal Rules of Criminal Procedure states:

       (c)     Inquiry Into Joint Representation

               (1) Joint Representation. Joint representation occurs when:

                       (A) two or more defendants have been charged under Rule 8(b) or have
                           been joined for trial under Rule 13; and

                       (B) the defendants are represented by the same counsel, or counsel who are
                           associated in law practice.

                (2) Court’s Responsibility in Cases of Joint Representation. The court must
       promptly inquire about the propriety of joint representation and must personally advise
       each defendant of the right to the effective assistance of counsel, including separate
       representation. Unless there is good cause to believe that no conflict of interest is likely to
       arise, the court must take appropriate measures to protect each defendant’s right to counsel.

        Here, Rule 44(c) applies. Both defendants are joined for trial under Rule 8(b), and the

defendants are represented by attorneys who are associated in the practice of law. Pennsylvania

Rule of Professional Conduct 1.10(a) provides that all of the lawyers in a single firm are treated as

if they are one lawyer for purposes of conflict of interest rules. The government, therefore,

respectfully requests that, pursuant to Rule 44(c), this Court inquire about the propriety of two

lawyers from the same law firm representing defendant Marita Crawford and Robert Henon, and

take whatever action that the Court determines is necessary to protect each defendant’s right to

effective counsel.




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       C.     Legal Principles

       The Sixth Amendment to the Constitution guarantees all defendants the effective assistance

of counsel, which includes “the right to adequate representation by an attorney of reasonable

competence and the right to the attorney’s undivided loyalty free of conflict of interest.” United

States v. Moscony, 927 F.2d 742, 748 (3d Cir. 1991). Additionally, “a presumptive right to the

counsel of one’s choice has been recognized as arising out of the Sixth Amendment.” Id.

       This presumption of the right to counsel of choice may, however, be overcome “not only

by a demonstration of actual conflict but by a showing of a serious potential for conflict.” Wheat

v. United States, 486 U.S. 153, 164 (1988); United States v. Stewart, 185 F.3d 112, 121-122 (3d

Cir. 1999) (law firm which had represented government witnesses in related civil case disqualified

in criminal case because of conflict of interest). This is because the “purpose of providing

assistance of counsel is simply to ensure that criminal defendants receive a fair trial.” 486 U.S. at

159. Accordingly, “while the right to select and be represented by one's preferred attorney is

comprehended by the Sixth Amendment, the essential aim of the Amendment is to guarantee an

effective advocate for each criminal defendant rather than to ensure that a defendant will

inexorably be represented by the lawyer whom he prefers.” Wheat, 486 U.S. at 159.

       Should a defendant choose to waive any conflict of interest faced by his attorney in order to

retain counsel of choice, a court may accept the waiver under appropriate circumstances. See

United States v. Fumo, 504 F.Supp. 2d 6, 24 (E.D. PA. 2007) (counsel for defendant had

previously represented victim entities; court held conflict could be waived). A waiver, however,

“does not necessarily resolve the matter, for the trial court has an institutional interest in protecting

the truth-seeking function of the proceedings over which it is presiding by considering whether the

defendant has effective assistance of counsel, regardless of any proffered waiver.” Moscony, 927
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F.2d at 749. Federal courts also have “an independent interest in ensuring that criminal trials are

conducted within the ethical standards of the profession and that legal proceedings appear fair to

all who observe them.” See Wheat, 486 U.S. at 160. Accordingly, a district court has “discretion

to disqualify counsel if a potential conflict exists even where the represented parties have waived

the conflict.” United States v. Stewart, 185 F. 3d 112, 122 (3d Cir. 1999) (court upheld

disqualification despite waiver of defendant).

       Furthermore, this court has a legitimate interest in being free from further attacks on the

fairness of the trial process, the adequacy of counsel, and the voluntariness of any waiver of

effective counsel. Wheat, 486 U.S. at 162-64; Dolan, 570 F.2d at 1184. Thus, the Court may

disqualify counsel not only to preserve a defendant's rights to conflict-free counsel, but to protect

the integrity of the proceeding from subsequent attack. Prosecutors have an obligation to inform

district courts of defense counsel’s potential conflicts of interest when they become aware of them.

See United States v. Morelli, 169 F.3d 798, 812 (3d Cir. 1999).

       As noted above, see United States v. Stewart, 185 F.3d 112, 121-122 (3d Cir. 1999) (law

firm which had represented government witnesses in related civil case disqualified in criminal case

because of conflict of interest), the Third Circuit has held that certain conflicts of interest cannot be

waived. In United States v. Flanagan, 679 F. 3d 1072 (3d Cir. 1982), the Third Circuit affirmed

the disqualification of a law firm from representing four defendants. There police officers charged

with civil rights violations all retained the same law firm to represent them. Although each

defendant had voluntarily and intelligently chosen to waive the conflict of joint representation, the

waivers were rejected. The district court found that a conflict of interest was very likely to arise in

the course of the proceedings. On appeal, the Third Circuit agreed, stating that “[w]here . . . the


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materialization of actual conflict is very likely, disqualification of defense counsel and ordering

defendants to retain separate counsel are appropriate measures to be taken . . .” Id. at 1076.

       Similarly, in United States v. Moscony, 927 F.2d 742, 750-51 (3d Cir. 1991), the court

found that a non-waivable conflict of interest existed when counsel represented a client whom a

grand jury was investigating at the same time that he was representing several of the client’s

employees who were later identified as government witnesses. In that case, the Court highlighted

the important role of the trial court in protecting the defendant’s rights:

                   Usually, the various rights and duties of the attorney clash when a
           defendant seeks to waive his right to conflict-free representation in
           circumstances in which the counsel of his choice may have divided loyalties
           due to concurrent or prior representation of another client who is a co-
           defendant, a co-conspirator, or a government witness. Such a waiver,
           however, does not necessarily resolve the matter, for the trial court has an
           institutional interest in protecting the truth-seeking function of the
           proceedings over which it is presiding by considering whether the defendant
           has effective assistance of counsel, regardless of any proffered waiver.

       Moscony, 927 F.2d at 749. The decision to refuse a waiver of the right to conflict-free

representation rests largely with the trial court. See e.g., United States v. Williams, 81 F.3d 1321,

1325 (4th Cir. 1996) (no abuse of discretion when court refused to allow waiver of conflict-free

representation because counsel had previously represented defendant’s wife who was a potential

witness for prosecution).

       The district court has “substantial latitude in refusing waivers of conflicts of interest not

only in those rare cases where an actual conflict may be demonstrated before trial, but in the more

common cases where a potential for conflict exists which may or may not burgeon into an actual




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conflict as the trial progresses.” Wheat, 486 U.S. at 163. 1 Such discretion is afforded the courts

because:

       Unfortunately for all concerned, a district court must pass on the issue whether or
       not to allow a waiver of a conflict of interest by a criminal defendant not with the
       wisdom of hindsight after the trial has taken place, but in the murkier pre-trial
       context when relationships between parties are seen through a glass, darkly. …
       These imponderables are difficult enough for a lawyer to assess, and even more
       difficult to convey by way of explanation to a criminal defendant untutored in the
       niceties of legal ethics.

       Id. at 162-63.

       Weighing the defendant’s choice of counsel against disqualification of counsel for a

potential conflict of interest is no easy task. The Supreme Court has lamented that the:

                need to investigate potential conflicts arises in part from the legitimate wish
       of district courts that their judgments remain intact on appeal…. trial courts
       confronted with multiple representations face the prospect of being “whip-sawed”
       by assertions of error no matter which way they rule. If a district court agrees to the
       multiple representation, and the advocacy of counsel is thereafter impaired as a
       result, the defendant may well claim that he did not receive effective
       assistance….On the other hand, a district court's refusal to accede to the multiple
       representation may result in a challenge such as petitioner's in this case. Nor does a
       waiver by the defendant necessarily solve the problem, for we note, without passing
       judgment on, the apparent willingness of Courts of Appeals to entertain ineffective-
       assistance claims from defendants who have specifically waived the right to
       conflict-free counsel.

       Wheat, 486 U.S. at 161-62 (Internal citations omitted).

       The evaluation of the facts and circumstances of each case under this standard must be left

primarily to the informed judgment of the trial court. Voigt, 89 F.3d at 1076 (citing Wheat, 486


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          This is so even in light of the Gonzalez-Lopez opinion holding that erroneous deprivation
of counsel constitutes structural error. See United States v. Gonzalez-Lopez, 548 U.S. 140, 149-
150 (2006) (“nothing we have said today casts any doubt or places any qualification upon our
previous holdings that limit the right to counsel of choice”). In Gonzalez-Lopez, the Missouri
district court judge refused to permit the defendant to be represented by his chosen counsel, a
California attorney whose admission pro hac vice had been twice denied without comment by the
district court.
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U.S. at 164) (defense counsel who had previously represented a codefendant, as well as a potential

government witness, was properly disqualified). Third Circuit has similarly recognized the

difficulty of this process of evaluation. “The likelihood and dimensions of nascent conflicts of

interest are notoriously hard to predict, even for those thoroughly familiar with criminal trials.”

Voight, 89 F.3d at 1076 (quoting Wheat, 486 U.S. at 162-63).

       D.      Procedure

       “Normally, the trial court should conduct an evidentiary hearing or factual inquiry to

determine whether disqualification is appropriate and should inquire into the nature of the conflict

and the client’s awareness of the conflict.” See Gov’t of Virgin Islands v. Zepp, 748 F.2d 125, 139

(3d Cir. 1984) (instructing district courts to determine whether a waiver is possible, whether there

has been a waiver, and if so, whether a waiver is effective). In Zepp, the defendant was convicted

of destruction of evidence (narcotics) seized from the septic tank of a home where she lived. Part

of the evidence at trial was a stipulation entered into by the government and defense counsel, who

was present in the home with the defendant at a time when investigators heard toilets in the house

flushing. The stipulation read at trial was, that if called as a witness at trial, defense counsel would

testify that he did not personally flush any toilets while he was in the defendant’s home. Zepp held

that defense counsel had a clear conflict and was ineffective when he had criminal liability on the

same charges as his client and acted as a prosecution witness at trial.

        The Third Circuit adopted the Fifth Circuit’s decision in United States v. Garcia, 517 F.2d

272 (5th Cir. 1975), concerning the nature of a conflict colloquy. In United States v. Dolan, 570

F. 2d 1177, 1181 (3d Cir. 1978), where one attorney represented codefendants, the Court, quoting

Garcia, 517 F.2d at 278), wrote.


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         The district court should address each defendant personally and forthrightly advise
         him of the potential dangers of representation by counsel with a conflict of interest.
         The defendant must be at liberty to question the district court as to the nature and
         consequences of his legal representation. Most significantly, the court should seek
         to elicit a narrative response from each defendant that he has been advised of his
         right to effective representation, that he understand the details of his attorney’s
         possible conflict of interest and the potential perils of such a conflict, that he has
         discussed the matter with his attorney or if he wishes with outside counsel, and that
         he voluntarily waives his Sixth Amendment protections. It is, of course, vital that
         the waiver be established by ‘clear, unequivocal, and unambiguous language.’

Id. The Garcia court further cautioned that “[m]ere assent in response to a series of questions from

the bench may in some circumstances constitute an adequate waiver, but the court should

nonetheless endeavor to have each defendant personally articulate in detail his intent to forego this

significant constitutional protection. “ Garcia, 517 F. 2d at 278. Thus, the focus should be to

create an adequate colloquy that encompasses all possible conflicts at issue.

         If the Court, after a hearing, determines that any conflict of interest may be waived by the

defendant, the government suggests that it may be appropriate to permit the defendant an opportunity to

consult with an inarguably independent counsel. See United States v. Lussier, 71 F.3d. 456 (2d Cir.

1995).




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       E. Conclusion

       WHEREFORE, the government respectfully requests that, pursuant to Rule 44(c) of the Federal

Rules of Criminal Procedure, this Court inquire about the propriety of two lawyers from the same law

firm representing defendant Marita Crawford and Robert Henon, and take whatever action that the

Court determines is necessary to protect each defendant’s right to effective counsel.


                                              Respectfully submitted,

                                              JENNIFER ARBITTIER WILLIAMS
                                              Attorney for the United States, Acting Under
                                              Authority Conferred by 28 U.S.C. § 515

                                              RICHARD P. BARRETT
                                              Assistant United States Attorney
                                              Chief, Corruption and Labor Racketeering Section

                                              /s/ Paul L. Gray
                                              FRANK R. COSTELLO, JR.
                                              JOHN M. GALLAGHER
                                              PAUL L. GRAY
                                              Assistant United States Attorneys




        Dated: March 8, 2019




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                             CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this date, I electronically filed the foregoing pleading with

the Clerk of the Court using the CM/ECF system, which will send notification of such filing to

the attorneys of record for the defendants, who are identified below.

      Henry Hockeimer and David Axelrod
      Counsel for Defendant John Dougherty

      Brian McMonagle
      Counsel for Defendant Robert Henon

      Thomas Bergstrom
      Counsel for Defendant Brian Burrows

      Joseph Capone
      Counsel for Defendant Michael Neill
      Fortunato Perri
      Counsel for Defendant Marita Crawford
      Paul Hetznecker
      Counsel for Defendant Niko Rodriguez

      John E. Riley
      Counsel for Defendant Brian Fiocca

      William Brennan
      Counsel for Defendant Anthony Massa


                                             s/Paul L. Gray
                                             PAUL L. GRAY
                                             Assistant United States Attorney


       Dated: March 8, 2019




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